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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                   Case No. 19-81160-CIV-SMITH

  APPLE INC.,

          Plaintiff,
  v.

  CORELLIUM, LLC,

        Defendant.
  _________________________________/

            ORDER GRANTING IN PART APPLE INC.’S MOTION TO DISMISS

          This matter is before the Court on Plaintiff Apple Inc.’s Motion to Dismiss Corellium,

  LLC’s Counterclaims [DE 608], Corellium, LLC’s response [DE 619], and Apple Inc.’s reply [DE

  620].   Apple Inc.’s (“Apple”) Second Amended Complaint alleges claims for copyright

  infringement and violation of the Digital Millennium Copyright Act. In response to the Second

  Amended Complaint, Corellium LLC (“Corellium”) filed its Answer, Affirmative Defenses, and

  Counterclaims to Apple’s Second Amended Complaint [DE 599]. Corellium’s twelve-count1

  Counterclaim seeks declaratory, injunctive, and monetary relief. Apple’s Motion seeks to dismiss

  Counts I through X of the Counterclaim, pursuant to Federal Rules of Civil Procedure 12(b)(1)

  and 12(b)(6). For the reasons set forth below, the Motion is granted in part and denied in part.

  I.      THE COUNTERCLAIM

          In the fall of 2016, Apple announced its Bug Bounty Program, which offers external

  security researchers cash rewards for finding critical security vulnerabilities, i.e. bugs, in Apple’s

  iOS operating system. The Bug Bounty Program is governed by the “Apple Security Bounty




  1
   The Counterclaim appears to contain a numbering error.             There is no Count XI in the
  Counterclaim but there is a Count XII and a Count XIII.
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  Program Policy” (“Program Policy”), which is a proposed course of action, not a contract or

  agreement.

         The Program Policy promises it “will pay cash rewards for security vulnerabilities found

  in specific Apple services and products, to researchers who abide by the guidelines” of the

  program. The Program Policy further states that “[p]ayments are at Apple’s sole discretion,”

  “[r]ewards are granted solely at the exclusive discretion of Apple,” “[t]he terms, program scope,

  and payments are all subject to change at Apple’s sole discretion,” and “[t]he program may be

  terminated at any time.” Additionally, a participant in Apple’s Bug Bounty Program is asked to

  keep his or her “involvement with the program confidential.” Before disclosing any information

  about an issue reported under the Bug Bounty Program to other parties, a participant is also

  required to let Apple validate the report, diagnose the vulnerability, implement a fix or other

  corrective measure, validate the fix against all affected platforms, and distribute the fix to its

  customers. The Program Policy also asks participants to share any public comments about the

  reported bug with Apple before releasing those comments publicly. In order to receive payment

  for a submitted bug, which now can be up to $1,000,000, the bug must be: (1) present in the most

  recent version of iOS; (2) accompanied by a proof of concept; and (3) the first external report of

  the bug.

         Initially, a security researcher had to be invited by Apple to participate in the Bug Bounty

  Program. The program is now, however, open to all security researchers. In April 2017, Apple

  invited Corellium’s co-founder, Chris Wade (“Wade”), to join the Bug Bounty Program. In

  September 2017, Wade notified Apple that he was submitting new bugs to Apple on behalf of his

  new startup, Corellium, and Apple agreed that Corellium could be paid directly for its submissions.

  Thereafter, Corellium, submitted seven bugs to the program – three on November 13, 2017; two

  on January 23, 2018; and two on September 30, 2019. Apple benefited from Corellium’s bug

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  submissions. Despite benefitting, Apple has not paid Corellium for these bugs, which have a

  minimum value under the Program Policy of $300,000.

            As a result, Corellium filed its Counterclaim seeking declaratory, injunction, and monetary

  relief. Corellium’s Counterclaim alleges twelve counts: Counts I and II for declaratory judgment

  pursuant to 28 U.S.C. § 2201; Count III for constructive fraud in violation of California Civil Code,

  section 1573; Count IV for constructive fraud under Florida common law; Count V for unlawful

  business practice: constructive fraud in violation of California’s Unfair Competition Law

  (“UCL”), Cal. Bus. & Prof. Code § 17200, et seq.; Count VI for unfair business practices in

  violation of the UCL; Count VII for deceptive and unfair trade practices in violation of the Florida

  Unfair and Deceptive Trade Practices Act (“FDUTPA”), Fla. Stat. § 501.201, et seq.; Count VIII

  for unjust enrichment/quantum meruit under California common law; Count IX for unjust

  enrichment/quantum meruit under Florida common law; Count X for unlawful business practice:

  unjust enrichment/quantum meruit in violation of the UCL; Count XII2 for breach of contract under

  California common law; and Count XIII for breach of contract under Florida common law. Apple

  seeks to dismiss Counts I-X of the Counterclaim, all non-contract claims.

  II.       DISCUSSION

            A.     Apple’s 12(b)(1) Motion

            Apple first argues that Corellium’s claims for declaratory and injunctive relief should be

  dismissed pursuant to Federal Rule of Civil Procedure 12(b)(1). Apple maintains that Corellium

  lacks standing to pursue declaratory or injunctive relief because Corellium has not alleged facts

  showing a substantial likelihood that it will suffer injury in the future. For the reasons, set forth

  below, Corellium lacks standing to bring its Declaratory Judgment Act claims, Counts I and II,

  and to bring its claims for injunctive relief under the under the UCL and FDUTPA.


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      As noted earlier, there is no Count XI in the Counterclaim.
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                 i.     Declaratory Judgment Act Claims

         In Count I of the Counterclaim, Corellium asks the Court to declare that Apple’s Program

  Policy is not an enforceable contract or agreement, any purported consideration is illusory, and,

  therefore, there is no binding or enforceable agreement between the parties. Count II seeks a

  declaration that there is no binding or enforceable agreement between Apple and Corellium under

  the Program Policy, any other written agreement, or any combination thereof. Apple seeks to

  dismiss both these claims because Corellium lacks Article III standing to bring them.

         Apple maintains that Corellium has not alleged facts showing a substantial likelihood of

  future injury. According to Apple, Corellium pleads only alleged past injury because Corellium

  has not pled that it has a duty to continue to submit bugs to Apple under the Bug Bounty Program

  and, thus, it has not pled a future injury. Corellium responds that it has adequately pled future

  injury because Apple will continue to unfairly apply the terms of the Program Policy to Corellium,

  Corellium is still a participant in the Bug Bounty Program, and Corellium has submitted bugs via

  the program for which it has not been paid.

         “In order to demonstrate that there is a case or controversy that satisfies Article III’s

  standing requirement when a plaintiff is seeking declaratory relief—as opposed to seeking

  damages for past harm—the plaintiff must allege facts from which it appears that there is a

  ‘substantial likelihood that he will suffer injury in the future.’” A&M Gerber Chiropractic LLC v.

  GEICO Gen. Ins. Co., 925 F.3d 1205, 1210-11 (11th Cir. 2019) (quoting Malowney v. Federal

  Collection Deposit Grp., 193 F.3d 1342, 1346 (11th Cir. 1999)). “The remote possibility that a

  future injury may happen is not sufficient to satisfy the ‘actual controversy’ requirement for

  declaratory judgments.” Malowney, 193 F.3d at 1347 (citation omitted).

         Corellium has failed to plead any facts establishing that there is a substantial likelihood of

  future injury. Corellium has pled a past injury – that it submitted, through the Bug Bounty

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  Program, bugs to Apple for which it has not been paid; however, any future injury is purely

  speculative. While Corellium argues that it will continue to be unfairly treated under the Program

  Policy, Corellium has no obligation to continue to participate in the Bug Bounty Program. Further,

  it is pure speculation that Corellium will find future bugs if it continues to participate in the

  program and that those bugs will meet all of the eligibility requirements of the Program Policy.

  Unlike the cases cited by Corellium, this case does not involve a contract requiring any future

  performance by Corellium. Thus, Corellium has failed to plead that it is substantially likely to

  suffer future injury. Accordingly, Corellium lacks standing to bring its declaratory judgment

  claims and Count I and II of the Counterclaim are dismissed.

                 ii.     Injunctive Relief

         Corellium seeks injunctive relief in Counts V, VI, VII, and X. Apple maintains that

  Corellium’s failure to allege any facts demonstrating a threat of future injury is also fatal to

  Corellium’s claims for injunctive relief under the UCL and FDUTPA. Corellium again argues that

  it has sufficiently pled facts establishing that it is likely to suffer future injury. However, for the

  same reasons it cannot establish a likelihood of future injury for its declaratory relief claims,

  Corellium has not pled facts to support a likelihood of future injury for its injunctive relief claims.

         Corellium cites to Cox v. Porsche Financial Services, Inc., 330 F.R.D. 322, 336 (S.D. Fla.

  2019), for the proposition that the standing requirement for FDUTPA claims has “softened” and

  does not require a plaintiff to show an ongoing practice or irreparable harm. However, upon

  reconsideration, the Cox court reversed itself stating: “Although FDUTPA ‘allows a plaintiff to

  pursue injunctive relief even where the individual plaintiff will not benefit from an injunction, it

  cannot supplant Constitutional standing requirements. Article III of the Constitution requires that

  a plaintiff seeking injunctive relief allege a threat of future harm.’” Cox v. Porsche Fin. Servs.,

  Inc., -- F.R.D. --, No. 1:16-CV-23409, 2020 WL 8269306, at *6 (S.D. Fla. Aug. 17, 2020) (quoting

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  Dapeer v. Neutrogena Corp., 95 F. Supp. 3d 1366, 1373 (S.D. Fla. 2015)). Thus, Corellium has

  failed to establish standing to seek injunctive relief under the UCL or FDUTPA.

          B.      Apple’s Rule 12(b)(6) Motion

          Apple moves, pursuant to Federal Rule of Civil Procedure 12(b)(6), to dismiss Corellium’s

  remaining non-contract claims, Counts III-X. The purpose of a motion to dismiss filed pursuant

  to Federal Rule of Civil Procedure 12(b)(6) is to test the facial sufficiency of a complaint. The

  rule permits dismissal of a complaint that fails to state a claim upon which relief can be granted.

  It should be read alongside Federal Rule of Civil Procedure 8(a)(2), which requires a “short and

  plain statement of the claim showing that the pleader is entitled to relief.” Although a complaint

  challenged by a Rule 12(b)(6) motion to dismiss does not need detailed factual allegations, a

  plaintiff is still obligated to provide the “grounds” for his entitlement to relief, and a “formulaic

  recitation of the elements of a cause of action will not do.” Bell Atl. Corp. v. Twombly, 550 U.S.

  544, 555 (2007).

          When a complaint is challenged under Rule 12(b)(6), a court will presume that all well-

  pleaded allegations are true and view the pleadings in the light most favorable to the plaintiff. Am.

  United Life Ins. Co. v. Martinez, 480 F.3d 1043, 1066 (11th Cir. 2007). However, once a court

  “identif[ies] pleadings that, because they are no more than conclusions, are not entitled to the

  assumption of truth,” it must determine whether the well-pled facts “state a claim to relief that is

  plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678-79 (2009). A complaint can only

  survive a 12(b)(6) motion to dismiss if it contains factual allegations that are “enough to raise a

  right to relief above the speculative level, on the assumption that all the [factual] allegations in the

  complaint are true.” Twombly, 550 U.S. at 555. However, a well-pled complaint survives a motion

  to dismiss “even if it strikes a savvy judge that actual proof of these facts is improbable, and ‘that

  a recovery is very remote and unlikely.’” Id. at 556.

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         The Court will address each of the remaining non-contract claims, in turn.

                 i.      Constructive Fraud Claims

         Apple seeks to dismiss Corellium’s constructive fraud claims, Counts III, IV, and V,

  because Corellium lacks the required fiduciary relationship for such claims. Under Florida law,

  “[c]onstructive fraud occurs when a duty under a confidential or fiduciary relationship has been

  abused or where an unconscionable advantage has been taken.” Levy v. Levy, 862 So. 2d 48, 53

  (Fla. 3d DCA 2003). Under California law, constructive fraud requires: “(1) a fiduciary or

  confidential relationship; (2) nondisclosure (breach of fiduciary duty); (3) intent to deceive, and

  (4) reliance and resulting injury.” Prakashpalan v. Engstrom, Lipscomb & Lack, 167 Cal. Rptr.

  3d 832, 854 (Cal. Ct. App. 2014), as modified on denial of reh’g (Feb. 27, 2014) (citations

  omitted). Thus, to plead a claim of constructive fraud under Florida or California law, one must

  plead the existence of a fiduciary or confidential relationship.

         Under Florida law, a confidential relationship exists where “confidence is reposed by one

  party and a trust is accepted by the other, or where confidence has been acquired and abused. . . .

  a party must allege some degree of dependency on one side and some degree of undertaking on

  the other side to advise, counsel, and protect the weaker party.” Am. Honda Motor Co. v.

  Motorcycle Info. Network, Inc., 390 F. Supp. 2d 1170, 1179 (M.D. Fla. 2005) (quoting Doe v.

  Evans, 814 So.2d 270, 374 (Fla. 2002) & Watkins v. NCNB Nat. Bank of Fla., N.A., 622 So.2d

  1063, 1065 (Fla. 3d DCA 1993)) (internal marks omitted). Similarly, under California law, a

  confidential relationship exists were “a person with justification places trust and confidence in the

  integrity and fidelity of another. A confidential relation exists between two persons when one has

  gained the confidence of the other and purports to act or advise with the other’s interest in mind.”

  Tyler v. Children’s Home Soc’y, 35 Cal. Rptr. 2d 291, 313 (Cal. Ct. App. 1994) (citations and

  internal marks omitted).

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         Corellium argues that it has adequately pled a confidential relationship because it has pled

  that it entered into a confidential relationship with Apple based on Apple’s creation of the Bug

  Bounty Program, which required participants to keep their submissions confidential; Apple invited

  Wade to participate and later approved Corellium’s participation; Corellium placed its trust and

  confidence in Apple when it submitted bugs to Apple in reliance that Apple would pay; and Apple

  accepted Corellium’s bugs and made repairs to its software based on those bugs. Apple maintains

  that these allegations are insufficient to establish a confidential relationship. None of Corellium’s

  allegations establish that Apple recognized, accepted, or undertook a duty to advise, counsel, or

  protect Corellium. Nothing in the Counterclaim indicates that Apple undertook to do anything on

  behalf of Corellium, other than possibly pay Corellium.

         Corellium’s reliance on Mayor’s Jewelers, Inc. v. Meyrowitz, No. 12-80055-CIV, 2012

  WL 2344609 (S.D. Fla. June 20, 2012), to support its contention that it has adequately pled its

  constructive fraud claims, is misplaced. In Mayor’s, the plaintiff jeweler placed its trust in the

  defendants to obtain a particular type of gemstones. Id. at *1. Defendants provided gemstones

  that they represented met the plaintiff’s requirements but later the plaintiff learned that the

  gemstones purchased by the plaintiff from the defendants did not meet the requirements. Id.

  Unlike here, the Mayor’s defendants undertook to provide a service, obtaining the gemstones, to

  the plaintiff and the plaintiff was relying on defendants and trusted the defendants to provide the

  requested service – obtaining gemstones meeting the requirements. Here, there are no allegations

  that Apple undertook any actions on Corellium’s behalf. While Corellium may have been required

  to keep the relationship confidential and Corellium placed its trust and confidence in Apple, Apple

  did not undertake to act or advise with Corellium’s interest in mind. The terms of the Program

  Policy make it clear that Apple acts at its own discretion. There is nothing in the Program Policy

  indicating that Apple acts or undertakes any duty on behalf of the program participants. Thus,

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  Corellium has not pled the existence of a confidential relationship. Accordingly, Counts III, IV,

  and V are dismissed.

                 ii.     Unjust Enrichment/Quantum Meruit Claims

         Apple seeks to dismiss Corellium’s unjust enrichment/quantum meruit claims, Count VIII

  and IX, based on California and Florida law, respectively. Apple maintains that the claims must

  be dismissed because they are based on an express agreement. Corellium responds that it has pled

  that the Program Policy is not an express agreement because the terms of the Program Policy are

  illusory and, therefore, the Program Policy is unenforceable.

         Apple contends that the express agreement governing the parties’ relationship is the Apple

  Developer Agreement (“Developer Agreement”), attached to Apple’s Motion as Exhibit A [DE

  608-1], and the Program Policy. Thus, Apple argues that the Court should consider the Developer

  Agreement, despite it not being pled or incorporated into the Counterclaim, as central to

  Corellium’s claims. Generally, courts do not consider documents outside the pleadings when

  addressing a Rule 12(b)(6) motion, but courts may consider extrinsic documents if they are

  “central” to a party’s claim. Horsley v. Feldt, 304 F.3d 1125, 1134 (11th Cir. 2002). At the motion

  to dismiss stage, for documents to be “central” to a party’s claims “it must be ‘unquestionable’. . .

  that [a p]laintiff would have to offer these documents in order to prove its case.” Legacy Entm’t

  Grp., LLC v. Endemol USA Inc., No. 3:15-CV-0252-HES-PDB, 2015 WL 12838795, at *3 (M.D.

  Fla. Oct. 1, 2015).

         Contrary to Apple’s contention, there is nothing in the Counterclaim indicating that the

  Developer Agreement is central to Corellium’s claims. There is nothing to indicate that Corellium

  would unquestionably have to offer the Developer Agreement into evidence to prove any of its

  claims. Further, neither the Counterclaim nor the Program Policy reference the Developer

  Agreement and it is not clear that the Developer Agreement incorporates the Program Policy, as

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   asserted by Apple. Thus, the Court will not consider the Developer Agreement in addressing

   Apple’s Motion.

          Under Florida law, “[i]t is only upon a showing that an express contract exists [between

   the parties] that the unjust enrichment . . . count fails.” Williams v. Bear Stearns & Co., 725 So.

   2d 397, 400 (Fla. 5th DCA 1998) (citation omitted). Thus, a motion to dismiss a claim for unjust

   enrichment on the grounds that an express contract exists is premature until the express contract is

   proven. Id. Similarly, under California law, an unjust enrichment or quantum meruit claim is not

   foreclosed by the existence of a written agreement that may be found unconscionable or illusory.

   Gov’t Employees Ins. Co. v. Fred Javier Gonzalez Ins. Agency, No. CV 09-6270-GHK (EX), 2011

   WL 13187367, at *2 (C.D. Cal. Feb. 9, 2011).

          Corellium has pled that the Program Policy is an illusory contract and, as such, is not valid

   and enforceable. The terms of the Program Policy, including “[p]ayments are at Apple’s sole

   discretion,” “[r]ewards are granted solely at the exclusive discretion of Apple,” “[t]he terms,

   program scope, and payments are all subject to change at Apple’s sole discretion,” and “[t]his

   program may be terminated at any time” (DE 608-2), support Corellium’s allegation that the

   Program Policy is an illusory contract. See Princeton Homes, Inc. v. Virone, 612 F.3d 1324, 1331

   (11th Cir. 2010) (stating that “[a] contract is illusory under Florida law when one of the promises

   appears on its face to be so insubstantial as to impose no obligation at all on the promisor—who

   says, in effect, ‘I will if I want to.’”) (internal marks omitted); Moua v. Optum Servs., Inc., 320 F.

   Supp. 3d 1109, 1113 (C.D. Cal. 2018) (stating that “[a]n agreement is illusory, and no enforceable

   contract has been created, if a promisor is free to perform or to withdraw from the agreement at

   his own unrestricted pleasure . . . [or] when one of the parties has the unfettered or arbitrary right

   to modify or terminate the agreement or assumes no obligations thereunder.”). Thus, Corellium

   has adequately pled that the Program Policy is an illusory contract. Because the contract between

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   the parties may be illusory, and therefore invalid, Corellium may maintain its unjust

   enrichment/quantum meruit claims at this stage of the proceedings. Thus, the motion to dismiss

   Corellium’s unjust enrichment/quantum meruit claims, Counts VIII and IX is denied.

                  iii.   UCL Claims for Unlawful Business Practices

          Apple argues that Corellium’s claims under California’s UCL, Counts V, VI, and X, all

   fail because (1) Corellium’s constructive fraud and quantum meruit claims fail, (2) Corellium has

   not alleged an unfair business practice, (3) commercial disputes are not cognizable under the UCL,

   and (4) Corellium has failed to allege an injury compensable under the UCL. As set out above,

   Count V, based on constructive fraud, is dismissed, leaving Counts VI and X.

          The UCL “prohibits unfair competition, including unlawful, unfair, and fraudulent

   business acts.” Korea Supply Co. v. Lockheed Martin Corp., 63 P.3d 937, 943 (Cal. 2003). “The

   UCL’s purpose is to protect both consumers and competitors by promoting fair competition in

   commercial markets for goods and services.” Kasky v. Nike, Inc., 45 P.3d 243, 249 (Cal. 2002),

   as modified (May 22, 2002). Courts interpreting the UCL have found that “a dispute between

   commercial parties over their economic relationship . . . does not give rise to a claim under the

   UCL.” MH Pillars Ltd. v. Realini, No. 15-CV-1383-PJH, 2017 WL 916414, at *10 (N.D. Cal.

   Mar. 8, 2017); see also In re ConocoPhillips Co. Serv. Station Rent Contract Litig., No. M:09-

   CV-02040 RMW, 2011 WL 1399783, at *3 (N.D. Cal. Apr. 13, 2011) (citing Linear Tech. Corp.

   v. Applied Materials, Inc., 61 Cal. Rptr. 3d 221, 237 (Cal. Ct. App. 2007)). Corellium and Apple

   have a commercial relationship. Corellium is not a customer, nor a competitor of Apple. The

   dispute at issue and the relationship at issue do not involve the general public or individual

   consumers. Thus, it appears that Corellium has no claim under the UCL.

          Even if Corellium could bring a claim under the UCL, it cannot recover the damages it

   seeks. Only equitable remedies are available under the UCL; damages are not an available

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   remedy.3      Id.   Thus, “[p]revailing plaintiffs are generally limited to injunctive relief and

   restitution.” Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 973 P.2d 527, 539 (Cal.

   1999). As set out above, Corellium does not have standing to seek injunctive relief. Thus, the

   question before the Court is whether Corellium is seeking restitution.

             While the Counterclaim asks for “restitution” under the UCL, based on the allegations in

   the Counterclaim, Corellium does not actually seek restitution. Corellium does not seek to restore

   any money or property which Apple acquired through unfair competition; instead, Corellium seeks

   monetary damages. Corellium relies on Fraley v. Facebook, Inc., 830 F. Supp. 2d 785, 811 (N.D.

   Cal. 2011), for the proposition that the concept of restitution under the UCL “is broad enough to

   allow a plaintiff to recover money or property in which he or she has a vested interest.” The

   California Supreme Court has explained: “[t]he object of restitution is to restore the status quo by

   returning to the plaintiff funds in which he or she has an ownership interest.” Korea Supply, 63

   P.3d at 947. Corellium argues that it has a vested interest in the software bugs it identified and

   submitted to Apple. The Court agrees. However, Corellium does not seek the return of its

   submitted bugs; instead, it seeks payment in the amount that it believes it is owed for the submitted

   bugs under the Program Policy. Corellium has not shown that it has a vested interest in any

   payments allegedly owed under the Bug Bounty Program. To do that, Corellium would have to

   allege that each of the submitted bugs met all of the eligibility requirements of the Program Policy.


   3
       The relevant section of the UCL states, in pertinent part:

             Any person who engages, has engaged, or proposes to engage in unfair competition
             may be enjoined in any court of competent jurisdiction. The court may make such
             orders or judgments, including the appointment of a receiver, as may be necessary
             to prevent the use or employment by any person of any practice which constitutes
             unfair competition, as defined in this chapter, or as may be necessary to restore to
             any person in interest any money or property, real or personal, which may have
             been acquired by means of such unfair competition.

   Cal. Bus. & Prof. Code § 17203 (West).
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   It has not. Thus, Corellium has failed to allege a vested interest in payment from Apple for the

   bugs. Consequently, it has not stated a claim for restitution. Accordingly, the UCL offers no relief

   to Corellium and Counts VI and X are dismissed.

                  iv.     FDUTPA Claim

          Apple moves to dismiss Corellium’s FDUTPA claim, Count VII. To state a claim under

   FDUTPA, a plaintiff must allege: “(1) a deceptive act or unfair practice; (2) causation; and (3)

   actual damages.” Rollins, Inc. v. Butland, 951 So. 2d 860, 869 (Fla. 2d DCA 2006). Apple

   contends that Corellium has not adequately pled the first and third elements of its FDUTPA claim.

   Because Corellium has not adequately pled a deceptive or unfair trade practice, the Court will not

   address the damages issue.

          According to Apple, Corellium has not alleged a deceptive or unfair practice because a

   deceptive of unfair trade practice requires an injury to a consumer and Corellium is not a consumer.

   Corellium asserts that it is a consumer and also asserts that it brings the action on behalf of other

   Bug Bounty Program participants. “A deceptive practice is one that is ‘likely to mislead’

   consumers. . . . An unfair practice is one that ‘offends established public policy’ and one that is

   ‘immoral, unethical, oppressive, unscrupulous or substantially injurious to consumers.’” Id.

   (citations omitted). Thus, while an entity does not need to be a consumer to bring a claim under

   FDUTPA, it must allege an injury to a consumer. Stewart Agency, Inc. v. Arrigo Enters, Inc., 266

   So. 3d 207, 212 (Fla. 4th DCA 2019). Under FDUTPA, a “consumer” is a purchaser of goods or

   services. N.G.L. Travel Assocs. v. Celebrity Cruises, Inc., 764 So. 2d 672, 674 & n.3 (Fla. 3d DCA

   2000). In N.G.L. Travel, the plaintiff, a travel agency, alleged that the defendants failed to pay it

   the full commissions to which it was entitled. Id. at 673. The court found that the plaintiff was

   not a “consumer” protected by FDUTPA because it was not a purchaser of goods or services in

   the transactions at issue, it was a provider of services. Id. at 674. Similarly, in the transactions at

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   issue here, Corellium is not a consumer of any of Apple’s goods or services. Corellium was the

   provider of the bugs, not the consumer. While Corellium need not be a consumer to bring a

   FDUTPA action, it still must allege an injury to a consumer. This it has not done. Thus,

   Corellium’s claim under FDUTPA fails and Count VII is dismissed.

          Accordingly, it is

          ORDERED that Plaintiff Apple Inc.’s Motion to Dismiss Corellium, LLC’s

   Counterclaims [DE 608] is GRANTED in part and DENIED in part:

          1.      The Motion is GRANTED as to Counts I, II, III, IV, V, VI, VII, and X:

                  a.     Counts I and II and all requests for injunctive relief are DISMISSED with

   prejudice.

                  b.     Counts III, IV, V, VI, VII and X are DISMISSED without prejudice.

          2.      The Motion is DENIED as to Counts VIII and IX.

          3.      Corellium may file an Amended Counterclaim in accordance with this Order by

   March 3, 2021. In deciding whether to file an Amended Counterclaim, Corellium shall be guided

   by the dictates of Federal Rule of Civil Procedure 11.

          DONE AND ORDERED in Fort Lauderdale, Florida, this 24th day of February, 2021.




   Copies to: Counsel of Record




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